     Case: 1:18-cv-01940 Document #: 19 Filed: 09/10/18 Page 1 of 1 PageID #:43



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TRAVIS NOLAN                   )
                               )
  Plaintiff,                   )
                               )
      v.                       )                     No.     18 cv 01940
                               )
DEVILLE ASSET MANAGEMENT, LTD. )
                               )
      Defendant.               )

                        PROOF OF SERVICE BY CERTIFICATION

       The undersigned certifies that the following documents were served via electronic mail to the
addressees identified below on September 10, 2018:

       1. Defendant’s Disclosure Pursuant to Mandatory Initial Discovery Pilot
          Project

       2. Proof of Service by Certification

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